Case No. 1:11-cv-02124-MSK-CBS           Document 5       filed 09/22/11     USDC Colorado      pg
                                             1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Case No. 11-cv-02124-MSK-CBS

 MICHAEL SCANLAN, individually and on behalf of all others similarly situated,

 Plaintiff,

 v.

 FIRST STATE BANK OF COLORADO

 Defendant.



              ANSWER OF DEFENDANT FIRST STATE BANK OF COLORADO


        COMES NOW the Defendant, FIRST STATE BANK OF COLORADO (“First State”),

 by and through its attorneys, BROWN, BERARDINI & DUNNING, P.C., and for its Answer to

 the Complaint and Jury Demand (“Complaint”) of the Plaintiff, states as follows:

        1.      First State denies the allegations contained in Paragraph 1 of the Complaint.

        2.      Paragraph 2 of the Complaint asserts a legal conclusion to which First State

  makes no response.

        3.      Paragraph 3 of the Complaint asserts a legal conclusion to which First State

  makes no response.

        4.      Paragraph 4 of the Complaint asserts a legal conclusion to which First State

 makes no response.

        5.      Paragraph 5 of the Complaint asserts a legal conclusion to which First State

 makes no response.
Case No. 1:11-cv-02124-MSK-CBS           Document 5       filed 09/22/11     USDC Colorado       pg
                                             2 of 6




         6.     Paragraph 6 of the Complaint asserts a legal conclusion to which First State

 makes no response.

         7.     Paragraph 7 of the Complaint asserts a legal conclusion to which First State

 makes no response.

         8.     Paragraph 8 of the Complaint asserts a legal conclusion to which First State

  makes no response.

         9.     First State admits the allegations contained in Paragraph 9 of the Complaint.

         10.    First State admits that it operates ATMs in this judicial district, as alleged in

  Paragraph 10 of the Complaint, but denies the remaining allegations contained in Paragraph 10

  of the Complaint.

         11.    First State admits that venue is proper as alleged in Paragraph 11 of the

 Complaint, but denies the remaining allegations contained in paragraph 11 of the Complaint.

         12.    First State is without sufficient information to admit or deny the allegations

 contained in Paragraph 12 of the Complaint, and therefore denies same.

         13.    First State admits the allegations contained in Paragraph 13 of the Complaint.

         14.    First State admits that it is an automated teller machine operator, as alleged in

  Paragraph 14 of the Complaint, but denies the remaining allegations contained in paragraph 14

  of the Complaint.

         15.    First State is without sufficient information to admit or deny the allegations

  contained in Paragraph 15 of the Complaint, and therefore denies same.

         16.    First State is currently without sufficient information to admit or deny the

  allegations contained in Paragraph 16 of the Complaint, and therefore denies same.




                                                 2
Case No. 1:11-cv-02124-MSK-CBS           Document 5       filed 09/22/11      USDC Colorado      pg
                                             3 of 6




         17.    First State is without sufficient information to admit or deny the allegations

  contained in Paragraph 17 of the Complaint, and therefore denies same.

         18.    First State is without sufficient information to admit or deny the allegations

  contained in Paragraph 18 of the Complaint, and therefore denies same.

         19.    First State denies the allegations contained in Paragraph 19 of the Complaint.

         20.    First State denies the allegations contained in Paragraph 20 of the Complaint.

         21.    First State denies the allegations contained in Paragraph 21 of the Complaint.

         22.    First State denies the allegations contained in Paragraph 22 of the Complaint.

         23.    First State is without sufficient information to admit or deny the allegations

 contained in Paragraph 23 of the Complaint, and therefore denies the same.

         24.    First State denies the allegations contained in Paragraph 24 of the Complaint.

         25.    First State denies the allegations contained in Paragraph 25 of the Complaint.

         26.    First State denies the allegations contained in Paragraph 26 of the Complaint.

         27.    First State denies the allegations contained in Paragraph 27 of the Complaint.

         28.    First State denies the allegations contained in Paragraph 28 of the Complaint.

         29.    First State denies the allegations contained in Paragraph 29 of the Complaint.

         30.    First State denies the allegations contained in Paragraph 30 of the Complaint.

         31.    Paragraph 31 of the Complaint asserts a legal conclusion to which First State

 makes no response.

         32.    Paragraph 32 of the Complaint asserts a legal conclusion to which First State

 makes no response.

         33.    Paragraph 33 of the Complaint asserts a legal conclusion to which First State

 makes no response.




                                                 3
Case No. 1:11-cv-02124-MSK-CBS              Document 5        filed 09/22/11      USDC Colorado           pg
                                                4 of 6




         34.     Paragraph 34 of the Complaint asserts a legal conclusion to which First State

 makes no response.

         35.     First State denies the allegations contained in Paragraph 35 of the Complaint.

         36.     First State denies the allegations contained in Paragraph 36 of the Complaint.

         37.     Paragraph 37 asserts legal conclusions, to which First State makes no response.

         38.     First State denies the allegations contained in Paragraph 38 of the Complaint.

                                     AFFIRMATIVE DEFENSES

         1.      Plaintiff’s claims under the EFTA are barred in whole or in part for failure to state

  a claim upon which relief may be granted.

         2.      Plaintiff’s claims under the EFTA are barred in whole or in part because if any

  violations of the EFTA occurred, they were unintentional or bona fide errors and constitute

  defenses to the claims pursuant to 15 U.S.C. § 1693m(c).

         2.      Plaintiff’s claims under the EFTA are barred in whole or in part because of the

  Defendant’s good faith compliance with a rule, regulation, or interpretation or approval of duly

  authorized officials or employees of the Federal Reserve System, which constitutes a defense to

  the claims pursuant to 15 U.S.C. § 1693(m)(d).

         4.      This action cannot be brought or maintained as a class action, because the

  Plaintiff’s claims are not representative of a class of similarly situated persons.

         5.      This action cannot be brought or maintained as a class action because the

  allegations, facts, and defenses relating to Plaintiff will not support a collective or class action.

         6.      This action cannot be brought or maintained as a class action because the Plaintiff

  is not similarly situated to others and there is no commonality between Plaintiff’s circumstances,

  individually and collectively, and those of any others.




                                                     4
Case No. 1:11-cv-02124-MSK-CBS            Document 5        filed 09/22/11   USDC Colorado         pg
                                              5 of 6




         7.     This action cannot be brought or maintained as a class action because Plaintiff is

  not an adequate representative for the proposed class action.

         8.     Plaintiff’s claims under the EFTA are barred in whole or in part because Plaintiff

  has not suffered or plead any actual damages.

         9.     Plaintiff’s claims under the EFTA are barred in whole or in part because Plaintiff

  has not pled and cannot prove any detrimental reliance.

         10.    Plaintiff’s claims under the EFTA are barred in whole or in part based on consent.

         11.    Plaintiff’s claims under the EFTA are barred in whole or in part based on the

  doctrines of waiver and estoppels.

         12.    Plaintiff’s claims under the EFTA are barred because the Plaintiff is not a party of

  the class of persons intended to be protected under the EFTA.

         WHEREFORE First State Bank of Colorado pray this Honorable Court for judgment in

 its favor on all claims, and against the Plaintiff, that Plaintiff take nothing thereby, for costs,

 attorney’s fees and for such other and further relief as this Court deems just and proper in the

 premises.

                DATED this 22nd day of September, 2011.

                                               Respectfully submitted,

                                               BROWN, BERARDINI & DUNNING, P.C.

                                               s/Brian J. Berardini
                                               Brian J. Berardini, Reg. No. 10406
                                               David C. Walker, Reg. No. 36551
                                               Attorneys for First State Bank of Colorado
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                                                  5
Case No. 1:11-cv-02124-MSK-CBS             Document 5        filed 09/22/11     USDC Colorado        pg
                                               6 of 6




                                  CERTIFICATE OF MAILING

                I hereby certify that on the 22nd day of September, 2011, I served a true and accurate

 copy of the foregoing ANSWER OF DEFENDANT FIRST STATE BANK OF COLORADO,

 via U.S. First Class Mail, postage prepaid, to the following person at the following address:

                                    L. Daniel Recor, Esq.
                                    217 E. Fillmore St.
                                    Colorado Springs, CO 80907

                                    Michael T. Harrison, Esq.
                                    Harrison & Associates
                                    25876 The Old Road, #304
                                    Stevenson Ranch, CA 91381


                                                s/ Jennifer L. Mellott




                                                   6
